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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                BROWARD DIVISION

 Anthony Martin,                                     Case No.

          Plaintiff,
                                                        COMPLAINT FOR DAMAGES
 v.                                                  UNDER THE FAIR DEBT COLLECTION
                                                        PRACTICES ACT AND OTHER
 Erica L. Brachfeld, A Professional                         EQUITABLE RELIEF
 Corporation,

          Defendant.                                  JURY DEMAND ENDORSED HEREIN


                                    JURISDICTION AND VENUE

 1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

      Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

      giving rise to this claim occurred in this judicial district.

                                  FACTS COMMON TO ALL COUNTS

 2. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

 3. As described below, Defendant attempted to collect from Plaintiff a “debt” as defined by 15

      U.S.C. §1692a(5).

 4. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

 5. On or around September 26, 2009, Plaintiff retained an attorney to file for bankruptcy.

 6. On or around July 7, 2010, Defendant telephoned Plaintiff in connection with the collection

      of the debt.

 7. During this communication, Plaintiff notified Defendant that Plaintiff was represented by an

      attorney, provided Defendant with Plaintiff’s attorney’s contact information, and requested

      that Defendant no longer call him about the debt.




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 8. On or around July 8, 2010, Defendant again telephoned Plaintiff in connection with the

     collection of the debt.

 9. During this communication, Plaintiff again notified Defendant that Plaintiff was represented

     by an attorney, provided Plaintiff’s attorney’s contact information, and requested that

     Defendant no longer call him about the debt.

 10. Despite these notices, Defendant telephoned Plaintiff in connection with the collection of the

     debt on numerous occasions thereafter in or around July 2010.

 11. Defendant violated the FDCPA.

                                             COUNT ONE

                        Violation of the Fair Debt Collection Practices Act

 12. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

 13. Defendant violated 15 U.S.C. §1692c(a)(2) by communicating with Plaintiff in connection

     with the collection of the debt despite having knowledge that Plaintiff was represented by an

     attorney with respect to the debt.

                                            COUNT TWO

                        Violation of the Fair Debt Collection Practices Act

 14. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

 15. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

     which was to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.

                                           JURY DEMAND

 16. Plaintiff demands a trial by jury.

                                       PRAYER FOR RELIEF

 17. Plaintiff prays for the following relief:




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          a. Judgment against Defendant for actual damages, statutory damages, and costs and

             reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

          b. For such other legal and/or equitable relief as the Court deems appropriate.




                                           RESPECTFULLY SUBMITTED,

                                           Legal Helpers, P.C.

                                           By: /s/ Adela D. Estopinan
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